Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 1 of 17
               Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 2 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1   mismanaging two 28 U.S.C. §§ 351–364 complaints should alarm the Hon. Chief Judge. [See
 2   Paragraph 50 through 59.]
 3
 4   2.       As demonstrated herein, the DRE is not an exception to jurisdiction at all. The DRE is a
 5   flimflam. It is a scheme by the federal judges to allow states to invade Americans’ privacy for the
 6   deliberate evil purpose of disturbing, disrupting, agitating and aggravating their peaceful, civil co-
 7   existence as equal Americans under the US Constitution. There is nothing in the US Constitution
 8   or law that gives the Hon. Justice, the Judicial Conference or the federal judges the authority to
 9   have fabricated the DRE. Nor do the federal judges have the right to fabricate understandings with
10   state judges and lawyers to use the DRE as if it were authentic or legitimate. Nor to the federal
11   judges have authority to cause conflicts and confrontations among Americans by placing any
12   American above another American in US Courts, or above the law, because of their sex, creed,
13   race, color, sexual orientation or politics. Judge Katzmann and Abrams’ scheme with the Daily
14   News’ reveals their irreversible political prejudices against the undersigned’s federal civil rights
15   case titled Asensio et al. v. DiFiore et al.2 (hereinafter “Asensio v. DiFiore”).
16
17   3.      The DRE is a policy that is diametrically opposed to the most basic and widely held beliefs
18   Americans hold about freedom and liberty. In fact, as demonstrated below, the DRE violates the
19   Judicial Conference’s published definitions of US justice and just administration of law. [See
20   paragraphs 39 through 44 and 10 subparagraph v.] The DRE is a grotesque violation of justice
21   and Americans’ most precious and essential US civil rights.
22
23   4.      The DRE constitutes a conflict of interest between the federal judiciary and. This conflict
24   can only be resolved by the Hon. Chief Justice. However, the Hon. Chief Justice has a conflict.
25   The basic fact is that the DRE is being used in New York State to sanction corruption by the state
26   chief judge, the state attorney and the state governor. The Hon. Chief Justice is faced with a
27   complaint against the federal judges that are protecting this corruption. The Hon. Chief Judge’s
28   conflict is that he authorized the DRE and did so without notice to the President or Congress.
29
30                                                     Introduction
31
32   5.     This 28 U.S.C. §§ 351–364 complaint concerns the Hon. Chief Justice’s sanctioning of
33   Judges Katzmann and Abrams to engage in deliberate and malicious conduct while operating under
34   the DRE’s authority. The complaint concerns Judges Katzmann and Abrams’ deliberate
35   misconduct against the undersigned and his daughter. It concerns their use of the DRE to avoid

     2
       Exhibits 1 and 2 are a press release announcing the filing of the federal complaint titled Asensio v. DiFiore and a
     copy of its cover page. The Defendants in Asensio v. DiFiore are Janet Marie DiFiore, chief judge of New York State;
     Barbara Underwood, former attorney general of New York State; Andrew M. Cuomo, governor of New York State;
     Adetokunbo O. Fasanya, New York County Family Court magistrate; and Emilie Marie Bosak, the undersigned’s
     former spouse and custodial parent. US Judge Ronnie Abrams presently presides over this matter.


                                                        Page 2 of 17
               Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 3 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1   hearing motions and to collude with New York State Chief Judge Janet Marie DiFiore to plant a
 2   story in the New York Daily News that portrayed Asensio v. DiFiore in a negative light. It concerns
 3   Judge Katzmann and Abrams’ misconduct aimed at dismissing the Asensio v. DiFiore complaint
 4   and to protect Defendant DiFiore and the DRE.
 5
 6   6.      The basic fact in this complaint is that the DRE is not a legal doctrine, not a law, and not a
 7   basis to exclude any parental, including paternal, civil rights federal action from the United States’
 8   courts. It concerns the collusion of federal and state judges to conceal the DRE from US citizens,
 9   the President and Congress, and to prevent Americans from confronting the judges involved with
10   the DRE before a federal jury.
11                                                 Summary
12
13   7.     The Asensio v. DiFiore complaint raises first impression issues pertaining to the Hon.
14   Chief Justice’s administration of the 28 U.S.C. §§ 351–364 statute and in the federal courts. These
15   matters are of the utmost importance to the nation and the federal judiciary.
16
17   8.       The Hon. Chief Justice gives the Judicial Conference its jurisdiction and the legal basis for
18   its existence. This does not mean that the Hon. Chief Justice can conceal his unauthorized actions
19   under the cover of the Judicial Conference in order to usurp the authority of the President and
20   Congress. It does mean that the Hon. Chief Judge is individually responsible for the existence of
21   the DRE and the deliberate and malicious federal and state judicial misconduct it has fomented in
22   the nation. The DRE violates all the Judicial Conference’s the rules for providing justice in federal
23   courts and the definition of justice. [See paragraphs 39 through 44.]
24
25   9.      The organized judicial misconduct at the level of the Hon. Chief Judge and Judicial
26   Conference to interfere without authority or notice with individual freedoms of religious, speech
27   and political expression presents a grave national crisis. Asensio v. DiFiore3 is supported by an
28   exhaustive five-year private investigation that produced irrebuttable evidence of New York’s state
29   judicial corruption. This corruption has been created under the protection of the DRE policy. The
30   most fundamental part of the Judicial Conference’s DRE policy is the sanctioning of deliberate
31   federal and state judicial misconduct
32
33   10.     The Hon. Chief Judge has failed to notify the President and Congress and acted without
34   authority. As a matter of necessity, the Hon. Chief Justice must act in his individual capacity to
35   determine how to handle the crisis he created in the administration of US citizen’s most private
36   rights. The following are the administration of justice issues that require the Hon. Chief Judge’s
37   disclosure to the President and Congress and his decision making:
38


     3
      See paragraphs 48 and 49 for a disclosure of the origins of this complaint and the underlying federal civil rights
     action.


                                                         Page 3 of 17
               Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 4 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1                     I.The DRE is a federal judiciary policy created by the Judicial Conference. It
 2                       is not a subject matter exclusion; the DRE works backwards, it works as a
 3                       reverse scheme to fabricate jurisdiction over undefined subject matters that
 4                       no US or state judge has the authority to regulate
 5
 6                    II.The Chief Justice and Judicial Conference’s authority to administer justice
 7                       in a 28 U.S.C. §§ 351–364 complaint when the issue is the Hon. Chief Judge
 8                       and Judicial Conference’s deliberate misconduct4 in order to fabricate the
 9                       DRE
10
11                 III.The Chief Justice and Judicial Conference’s authority to administer justice
12                     in a 28 U.S.C. §§ 351–364 complaint against a Judicial Council of a circuit,
13                     the chief judge of a circuit, and a district court judge for the purpose of
14                     harassing a plaintiff for challenging the DRE and to collude with a state
15                     judge to dismiss the complaint against the DRE in order to avoid allowing
16                     a federal jury to hear the complaint against the DRE
17
18                IV.Federal review of a 5-year investigation into a state judiciary’s domestic
19                   relation process that was designed and is being operated with the federal
20                   judiciaries’ knowledge and consent under the DRE
21
22                    V.The processing of a federal application for emergency interim relief by a
23                      parent and child that has suffered retaliation from the chief judge of a federal
24                      court of appeals, a federal trial judge, and a state chief judge that has been
25                      retaliating against them acting since January 2016 in order to protect the
26                      DRE
27
28   11.      The primary issue, with all due respect to the Hon. Chief Justice, is that the DRE exists in
29   the federal courts only as a result of deliberate and malicious judicial misconduct by the Judicial
30   Conference. The Hon. Chief Justice is the exclusive source of authority that created the DRE.
31   Thus, the Hon. Chief Justice must be aware of the DRE and the national crisis it has created. When
32   a state governor and a state attorney general allow a state chief judge to collude with federal judges,
33   as is the case with the DRE’s design and its operation, they are acting jointly to circumvent the US
34   constitution, the President and Congress.
35
36               i.      The DRE is designed and operated by federal judges to allow state judges
37                    to act maliciously and in clear absence of subject matter jurisdiction, namely

     4
       This is especially important when the misconduct is alleged in order to allow joint deliberate and malicious
     misconduct by federal and state judges in domestic relations, particularly in run-of-the-mill post-divorce judgment
     custody cases

                                                       Page 4 of 17
               Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 5 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1                     religion, private speech in families, morals and political expression and to
 2                     creates one-sided judicial jurisdiction in run-of-the-mill custody cases
 3
 4               ii.      The DRE conceals prejudices against essential liberties under the undefined
 5                     “domestic relations” label as a scheme to allow state judges to convert run-of-
 6                     the-mill child custody cases into revenues streams for the state
 7
 8              iii.      The DRE is not an “exception to subject matter jurisdiction” at all. It is the
 9                     opposite. It is a concealed and illegitimate granting of jurisdiction by federal
10                     judges to state judges over subject matter that neither of them has any authority
11                     to regulate
12
13              iv.       The Judicial Conference fabricated the DRE through an undisclosed and
14                     unauthorized concerted and collaborative effort between the federal and state
15                     judiciaries
16
17               v.      The DRE is the antithesis of every element contained in the Judicial
18                     Conference’s definition of fair administration of US courts and justice, and the
19                     Conference’s published goals for effective delivery of justice by the US federal
20                     courts5
21
22              vi.      The DRE is an unauthorized disclaimer of Article III federal jurisdiction
23
24             vii.       The Judicial Conference took it upon themselves to fabricate the DRE
25                     without notice to US citizens, the President or Congress. Article III federal
26                     jurisdiction is a basic citizenship right that provides US citizens with their only
27                     protection against state judicial corruption and state interference with civil
28                     rights. Without it, states are free to run amok
29
30            viii.       The DRE is a backwards scheme to fabricate unauthorized regulation of
31                     essential individual freedoms that neither the federal nor state judiciary have
32                     any authority to assume
33
34              ix. The DRE is designed to be backwards work in reverse to fabricate
35                 unauthorized subject matter jurisdiction and is not an exception
36
37               x. The DRE is the product of a concerted and collaborative effort by the federal
38                 and state judiciaries to violate the constitution’s separation of powers
     5
      See the section titled “The DRE Policy Violates the Judicial Conference’s Definition of Justice and is an Extreme
     Violation of the Constitution’s Separation of Powers” below.


                                                        Page 5 of 17
               Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 6 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1
 2              xi. The DRE itself is an act of deliberate judicial misconduct executed by
 3                 judges acting in clear absence of legitimate jurisdiction to fabricate a policy
 4                 that does not and cannot exist in any US or state law, or other legal text. This
 5                 includes the US constitution
 6
 7             xii. By fabricating the DRE, the federal and state judiciary have taken subject
 8                 matter jurisdiction over liberties that neither the federal nor state government
 9                 can regulate. On the contrary, it is the federal judiciaries’ legal obligation to
10                 limit state involvement in US citizens’ private lives not to do the opposite by
11                 protecting the states from acting against liberty6
12
13            xiii.      The protected rights that the DRE violates are described in Barber v.
14                    Barber, which is claimed as an authority supporting the DRE, this case
15                    actually protects “the habitations … the chambers and nurseries of private
16                    families” from state government that seek to “inquire into and pronounce upon
17                    the morals and habits and affections or antipathies of the members of every
18                    household.” [See paragraphs 45 through 47.]
19
20   12.     It is for the above reasons that any jury will see the DRE as a flimflam. It is for this reason
21   that the Judicial Council for the Second Circuit and the Chief Judge of the United States Court of
22   Appeals for the Second Circuit, the Hon. Robert A. Katzmann, are allowing the presiding judge,
23   the Hon. Ronnie Abrams of the US District Court for the Southern District of New York, to collude
24   with the Chief Judge of New York State, Janet Marie DiFiore, and to act deliberately and
25   maliciously against the undersigned, his case, and his 28 U.S.C. §§ 351–364 Complaints. This is
26   the reason that these three federal judges are deliberately making it impossible for the undersigned
27   to present his evidence against the federal judiciary to a federal jury.




     6  See the section titled “The DRE Policy Allows States to fabricate jurisdiction where it is the Federal Judiciary’s
     legal obligation to strictly limit state jurisdiction”


                                                        Page 6 of 17
               Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 7 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1                           The DRE Mandates Federal Judges to Act Deceitfully
 2
 3   13.     The Judicial Council for the Second District, Judges Katzmann 7 and Abrams, 8 are all using
 4   the DRE in their operations. They do so despite knowing that it is not only an illegitimately
 5   fabricated policy, and an unauthorized case management practice, but a scheme by the federal and
 6   state judiciary to fabricate subject matter jurisdiction that does not and cannot exist in any federal
 7   or state law texts.

 8   14.     The DRE policy requires the federal courts to engage in misconduct to protect the DRE
 9   policy. It sounds circular, but it is a basic fact, that the Judicial Council, Judge Katzmann and
10   Judge Abram’s misconduct is being executed to protect the DRE, and New York’s operation of a
11   domestic relations process that is designed to abrogate civil rights.

12   15.    The Judicial Conference rules mandate the Judicial Council for the Second Circuit to refer
13   a complaint to the Judicial Conference when “in the interests of justice it is not amenable” for the
14   council to resolve the complaint. Judge Katzmann is the alleged wrongdoer.

15                              The DRE is the Hon. Chief Justice’s Responsibly

16   16.     With all due respect to the Hon. Chief Justice, the Chief Justice cannot under the above
17   circumstances rely on the council to refer a complaint against Judge Katzmann to the Judicial
18   Conference. The Chief Justice should agree that he has an affirmative duty to exercise the duties
19   of office to protect US citizens for the application of DRE. The Hon. Chief Justice should not elect
20   to use the Office of the Chief Justice to allow judicial corruption at the state and federal level. The
21   Chief Justice must not refrain from acting against the DRE and Judge Katzmann and Judge
22   Abrams’s misconduct to protect the DRE by acting against Asensio v. DiFiore.

23   17.   As shown below, the DRE policy is attributable to the Hon. Chief Justice. Therefore, only
24   the Hon. Chief Justice or his deputy can administer justice when the Judicial Council for the
25   Second District fails to do so. The basic fact is that both the Judicial Council and Judge Katzmann

     7
      Judge Katzmann’s is ignoring the fact that Judge Abrams has made herself a material witness in Asensio v. DiFiore.
     See paragraph 22.

     8
       Judge Abrams held ex parte communications with Defendant DiFiore in order to assist her in planting a news
     story in the New York Daily News. The article concerns the most central elements of the case. See section titled
     “Ex Parte Judicial Communications and Fabrication of Jurisdiction.” This makes Judge Abrams a material
     witness in the case. Judge Abrams has taken actions in clear absence of jurisdiction by using Sua Sponte order
     to make prejudicial judgments, to create a one-sided stay and to deny the undersigned’s motion for interim relief
     (“Motion 1”). She also used a Sua Sponte order to dispose of the undersigned’s Motion 1 seeking a statutory
     preliminary hearing on the evidence showing that the State Defendants maliciously acted in clear absence of
     jurisdiction without legal authority and without legitimate state purpose and are therefore not entitled to
     protection in the state and federal court by the state attorney or under doctrines of immunity. She has given the
     defendants the key to the federal courthouse and lock-up out the undersigned and his co-plaintiff.



                                                       Page 7 of 17
               Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 8 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1   are acting to allow Judge Abrams to obstruct justice in Asensio v. DiFiore. Therefore, the only
 2   authority in the US Courts that have clean hands are the Hon. Chief Justice or his deputy. Only
 3   they can to act in the interest of justice, only the Hon. Chief Justice can correct the Judicial Council
 4   and Judge Katzmann’s conduct that is allowing Judge Abrams’ misconduct.

 5   18.     The Hon. Chief Justice must act to administer the complaints and protect Asensio v.
 6   DiFiore from collusion between Judge Abrams and Defendant DiFiore. This misconduct is being
 7   protected by the Judicial Council and Judge Katzmann.

 8   19.      As the Hon. Chief Justice will read below the level of state and federal judicial corruption
 9   that the DRE has fomented has reached such an extreme that Judge Abrams has involved herself
10   in the fabrication of a slanderous article published in the Daily News centered on the most material
11   fact in Asensio v. DiFiore. [See section titled, “Ex Parte Judicial Communications and
12   Fabrication of Jurisdiction.”] This is clear and undeniable evidence that Judge Katzmann, who
13   openly violates 28 U.S.C. §§ 351–364 and US laws by advocating illegal immigration, have use
14   their power politically within the Daily News. The undersigned must convey his personal
15   knowledge and information to the Hon. Chief Justice on a time is of the essence basis.
16
17   20.     The Hon. Chief Judge is individually responsible for the DRE’s design and operation. The
18   Hon. Chief Judge or his representative must allow the undersigned to convey his personal
19   knowledge and information to him or a jury, but he cannot sit and allow Judge Katzmann to
20   deliberately mismanage 28 U.S.C. §§ 351–364 in order to allow Judge Abrams to dismiss Asensio
21   v. DiFiore and then claim innocence.
22
23   21.     The Hon. Chief Judge is responsible for reviewing the undersigned’s 28 U.S.C. §§ 351–
24   364 complaints against the Judicial Council and Judge Katzmann and Judge Abrams in Asensio v.
25   DiFiore’s DRE matter. The Hon. Chief Justice must take corrective action in the complaint against
26   Judge Katzmann before any further legal proceedings can occur in the federal courts in Asensio v.
27   DiFiore. This is true irrespective of the adjudication of the complaints against Judge Abrams’
28   conduct including her collusion with Defendant DiFiore to plant the story in the Daily News. With
29   all due respect, the Hon. Chief Justice individually possesses the necessary legal authority and
30   must do so.
31                                             Background
32
33   22.     The DRE is designed and operated to abrogate US citizens’ constitutional rights under
34   Article III and their protection under the Due Process Clause. The DRE is a flimflam so the federal
35   judiciary make allow the states to act maliciously against US citizens’ most cherished liberties.9



     9
       By contrast, the Hon. Robert A. Katzmann, chief judge of the United States Court of Appeals for the Second Circuit,
     is a vocal activist for the rights of illegal immigrants, which can be reasonably viewed as violation of judicial conduct
     law.


                                                          Page 8 of 17
               Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 9 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1   23.   The undersigned’s 5-year investigation began on May 15, 2014. It began as a simple
 2   complaint against a low-level magistrate operating in an inferior, limited jurisdiction New York
 3   County family court. The investigation reached Judge Katzmann on February 27, 2019.

 4   24.     Observing and identifying fraudulent conduct by state judges presiding over domestic
 5   relations matters and federal judges presiding over civil rights issues in domestic relations matters
 6   is not a complicated or complex matter. Judge Katzmann’s misconduct is simply his execution of
 7   the Judicial Conference’s “See No Evil. Hear No Evil. Say No Evil.” policy towards malicious
 8   federal judicial misconduct in domestic relations.

 9   25.     The undersigned has invested 5 years10 conducting discovery on the design and operation
10   of New York Chief Judge Janet Marie DiFiore’s domestic relations processes. Specifically, her
11   deliberate mismanagement of the State’s “run-of-the-mill” post-divorce judgment domestic
12   custody process and her conversion of this routine applications into a $350,000,000 a year pay-to-
13   play scheme to help fund her public cases.11 He documented the functions of over 120 senior state
14   officials that operate the scheme on day-to-day basis.12 New York State paid no attention to his
15   discovery or constitutional, plenary and administrative complaints.13 He then discovered that the
16   federal judiciary’s DRE policy was responsible for proving New York State’s corruption with
17   protection. This led the undersigned to discover the federal judges were using a policy, the DRE,
18   to deliberately deny citizens their right under Article III of the US Constitution to access federal
19   justice; to deny citizens the ability to defend their most basic liberties against judicial corruption.
20   The undersigned made these discoveries before filing the Asensio v. DiFiore case in federal court.
21   Asensio v. DiFiore is based on these discoveries.




     10
       The undersigned became aware of New York’s fraudulent post-divorce custody process on May 15, 2014 and
     immediately filed a formal complaint.

     11
       This includes cost of unregulated, unappealable so called “interim” suspension that do not and cannot exist in any
     New York State legal text and can exist under the cover of the DRE. The unauthorized and unnecessary appointments,
     without parental consent and over parental objections, and fabrication of fees, in favor of 18-b lawyers without
     authority or administration that provide low cost and free services to the state, and collection of those fees through
     fabricated contempt orders is central to the Asensio v. DiFiore matter. This sum also includes fees order to attorneys
     without authority, discovery, budgeting, administration or review as part of a case management system to pressure
     settlement.

     12
       Asensio v. DiFiore contains affirmations from 2 lawyers and 4 affidavits testifying as to the deliberate and malicious
     conduct by they witnessed by judges acting not as judges, but as judges acting in clear absence of jurisdiction including
     one affidavit naming the 120 state individuals and another 26 judges involved.

     13
       Attached as Exhibit 4 is a list of the New York Supreme and Appellate Courts cases against the DRE. The State
     paid no attention to the facts, factors and circumstances or legal argument presented in any of these cases. The State
     dismissed these with misrepresentation of the record and other fabrications. None of the order have any precedential
     value.


                                                         Page 9 of 17
                 Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 10 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1                            Judicial Conference’s Central Role in Fomenting the DRE

 2   26.     Exhibit 3 shows federal civil rights cases growing from less than 5% of the total federal
 3   caseload in 1962 to over 35% in 2002.14 This represents is 7-fold increase in civil rights cases.
 4   Yet during this same time, the federal judiciary’s blockade on domestic relations civil rights cases
 5   has allowed New York State to design and operate a process based on judicial corruption. The
 6   undersigned challenged and attempted to expose New York State’s judicial corruption. Defendant
 7   DiFiore used judicial corruption to retaliate against the undersigned.

 8   27.     Exhibit 3 contains information sourced from the Judicial Commission and Federal
 9   Judiciary Center. It discloses how the Judicial Conference is designed and how it operates as the
10   nation’s federal judiciary policy organization. As mentioned above, it shows that the Hon. Chief
11   Justice gives the Judicial Conference and its committees their jurisdiction and the legal basis for
12   their existence. It shows that the Hon. Chief Justice also controls the process of setting the
13   jurisdiction of the Judicial Conference’s committees and that the Hon. Chief Justice has sole
14   authority to make committee appointments.
15
16                                        DRE Policy’s Role in Judge Katzmann’s
17                                         Deliberate and Malicious Misconduct
18
19   28.     Judge Katzmann is concealing the undersigned’s February 13, 2019 federal judiciary
20   complaint against Judge Abrams and February 27, 2019 complaint against him. These deal with
21   Judge Abrams’s collusion with Defendant DiFiore. It also deals with the collusion between Judge
22   Katzmann and to protect Judge Abrams’ actions. The Hon. Collen McMahon, chief US district
23   judge for the Southern District of New York sits in silence doing nothing. They are all acting under
24   the authority of the DRE policy.
25
26   29.     The Hon. Chief Justice controls the nation’s judiciary policy-making process through the
27   Judicial Conference and its committees. Judges Katzmann and McMahon are members of the
28   Judicial Conference and Judge Katzmann is a member of at least 3 of its committees. The collusion
29   between Judges Katzmann and McMahon first aims to conceal the undersigned’s complaint
30   against Judge Abrams. Secondly it aims to protect Defendant DiFiore. But the basic fact is that the
31   actions between Judges Katzmann, McMahon and Abrams are aimed at protecting the federal
32   judiciary’s ability to allow New York to abrogate due process and the rule of law in domestic
33   relations cases. The fact is that the federal judiciary is using the DRE, not to avoid interfering with
34   state authority, but to jointly take control over domestic relations matters over which they have no
35   legitimate authority.
36
37   30.     The basic fact is that Judges Katzmann and McMahon have knowledge of the Judicial
38   Conference’s DRE policy and concealed rules. The fact is that Judge Katzmann is acting
39   deceitfully under the protection of the Judicial Conference’s tacit rules. The fact is that under the


     14
          This is the last year for which the data is publicly available.


                                                             Page 10 of 17
             Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 11 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1   Judicial Conference’s tacit policies Judge Katzmann is allowing Judge Abrams to act deceitfully
 2   and outside of her jurisdiction to protect Defendant DiFiore.
 3

 4                                Religious and US Constitutional Beliefs
 5
 6   31.    Asensio v. DiFiore involves the conflict between the undersigned’s religious, ethical, moral
 7   and political policies and those of the New York’s federal and state judiciary. For instance, the
 8   undersigned raised his daughter under traditional Judeo-Christian beliefs, to attend church
 9   services, and discuss religion and morality in the home and apply her faith in God to daily life.
10   New York interfered and removed her from her religious confirmation classes and is ignoring the
11   undersigned’s petitions for relief. Religious and political expression freedoms are central to the
12   undersigned’s case against the design and operation of Defendant DiFiore’s domestic relations
13   process and the DRE. The undersigned belief is that federal judges violating the US Constitution,
14   as they are doing with the DRE, is directly responsible for a great deal of the social unrest in
15   America. The undersigned believes that the federal judges cannot have the power to administer
16   28 U.S.C. §§ 351–364 that federal judges like Judge Katzmann privately use in the Judicial
17   Conference to fabricate scheme to undermine Americans’ beliefs in their liberty and freedom and
18   the US Constitution.
19
20   32.    Neither Judge Katzmann nor Defendant DiFiore have the right to question or overrule the
21   undersigned’s policies in his private domestic relations matters. The only way that Defendant
22   DiFiore can do so is by acting deceitfully and by violating laws. The only way that Defendant
23   DiFiore can act deceitfully is under the protection she is being provided by Judge Katzmann and
24   the DRE.
25

26                         Ex Parte Judicial Communications, the Daily News
27                                   and Fabrication of Jurisdiction
28
29   33.    The February 13, 2019 28 U.S.C. §§ 351–364 complaint deals with the collusion between
30   Judge Abrams and Defendant DiFiore to plant a news story about the undersigned and his case in
31   the New York Daily News, and Judge Katzmann’s interference to quash the 28 U.S.C. §§ 351–364
32   complaint against Judge Abrams addressing this incident.
33
34   34.     The above is a complex scheme created through a series of ex parte conversations between
35   Judge Abrams and Defendant DiFiore. The ex parte conversations were executed to plan the
36   fabrication of a deceitful order, to include de hors false statements in the fabricated order and use
37   the de hors false statements to pitch their story to the Daily News. The story they planted in the
38   Daily News creates the impression that the undersigned is an empowered wealthy male who is
39   volatile, reactionary and acts precipitously. The sub-text is that “toxic masculinity” needs to be
40   controlled. The fabrication by New York state officials of false allegations under the protection of
41   the DRE is central to the cause of action in Asensio v. DiFiore.
42


                                                Page 11 of 17
             Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 12 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1   35.     Judge Abrams and Defendant DiFiore use of an event that occurred on December 29, 2015
 2   reveals their malice. The events are meaningless against the undersigned in the custody case,
 3   However, they meaningful in the custody case against Defendant Bosak. Most importantly, they
 4   are central to the civil rights and Due Process claims in Asensio v. DiFiore.
 5

 6   36.    If Judge Abrams would have conducted any due diligence after having her ex parte
 7   conversation with Defendant DiFiore, Judge Abrams would have realized that it was Defendant
 8   DiFiore that was responsible for creating the December 29, 2015 story and that it was Defendant
 9   DiFiore that made the false story a central part of her retaliation against the undersigned. Now
10   Judge Abrams has made herself a material witness in a fundamental and central fact issue in the
11   Asensio v. DiFiore case.
12

13   37.     Judges Katzmann and Abrams’ blatant misconduct with the Daily News is the result of
14   knowing they must defend the DRE at all cost. The fabricated DRE policy should never refer to
15   an entire subject matter, it should be narrowly defined and limited if the federal courts use it at all.
16   Judge Abrams acted without apprehensions. Her ex parte communications and scheme are in
17   accord with the DRE’s policy that sanctions judicial malice in domestic relations.
18

19   38.     Judges Katzmann and Abrams’ conduct is the product of the DRE’s “backwards” design
20   and “reverse” operation. It is the product of the unauthorized concerted and collaborative effort by
21   the federal and state judiciary. It is how the DRE works to allow the federal and state judiciaries
22   to make concerted and collaborative efforts to take over strictly private manners without authority
23   or notice to the President or Congress.
24

25                  The DRE Policy Violates the Judicial Conference’s Definition of
26           Justice and is an Extreme Violation of the Constitution’s Separation of Powers
27
28   39.    The Judicial Conference defines the Rule of Law as “legal predictability, continuity, and
29   coherence; reasoned decisions made through publicly visible processes and based faithfully on the
30   law.” The Conference adds to this definition “adherence to the highest jurisprudential and
31   administrative standards…based faithfully on the law.”
32
33   40.    The Judicial Conference’s policy, goals and plan statement shown in Exhibit 3
34   acknowledges that undue delays in processing cases are unwarranted and that delays, and costs
35   can skew the mix of cases that come before the federal courts. It defines Equal Justice as “fairness
36   and impartiality in the administration of justice; accessibility of court processes; treatment of all
37   with dignity and respect.” As a matter of policy, the Judicial Commission finds that delays and
38   expenses “may unduly pressure parties towards settlement.” Rule 1 of the Federal Rules of Civil
39   Procedure calls for the “just, speedy, and inexpensive determination of every action and
40   proceeding.” Its approved plan includes a goal to reduce unnecessary costs as well as delay.

                                                  Page 12 of 17
             Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 13 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1
 2   41.     Thus, by the Judicial Commission’s own definition and goal its domestic relations
 3   exception to federal subject matter jurisdiction is an unfair denial of Article III jurisdiction against
 4   an entire class of civil rights cases. These are cases involving the nation’s most important freedoms
 5   and liberties. This is occurring in an area of law where government has no jurisdiction to begin
 6   with, much less any authority to fabricate delays and costs that are used to pressure settlement.
 7   The Judicial Conference policy statement and strategic plan call for “a concerted and collaborative
 8   effort among courts, Judicial Conference committees, and circuit judicial councils” to reduce
 9   delays in providing justice.
10
11   42.    The Judicial Conference’s Strategy 5.2 is to ensure that the federal judiciary is open and
12   accessible to those who participate in the judicial process. Its Goal 5.2d to execute this strategy is
13   to develop best practices for handling claims of pro se litigants in civil and bankruptcy cases.
14
15   43.     The Asensio v. DiFiore is purely a citizen action based on an investigation whose motive
16   is to expose the DRE in the interest of justice. No law firm would conduct such as investigation
17   against in what is a federal judiciary policy, which is designed to lead “a concerted and
18   collaborative effort among courts, Judicial Conference committees, and circuit judicial councils.”
19
20   44.    There is stark difference between the Judicial Conference’s stated policy and the delays
21   and cost and obstructions to justice, and pressure to settle, caused by the domestic relations
22   exception to federal subject matter jurisdiction. This wide negative variance can reasonably be
23   argued as clear evidence showing the DRE is much more sinister than merely an illegitimate case
24   management practice. This would be in and of itself is a very serious violation of Judicial
25   Conference’s strategy and goals, and federal judicial conduct laws. But the basic fact is that the
26   DRE is collusion by federal and state judiciaries to take jurisdiction unto themselves that no part
27   of US government can assume. [See paragraph 2 and paragraphs 24 through 29 above.
28

29                      The DRE Policy Allows States to Fabricate Jurisdiction
30                    Where it is the Federal Judiciary’s Central Legal Obligation to
31                                    Strictly Limit State Jurisdiction
32
33   45.     Barber v. Barber the 1858 US Supreme Court case claimed to be the origins of the domestic
34   relations exception to federal subject matter jurisdiction, contains a clear and stern warning to
35   federal judges against the disclaiming of jurisdiction over the design and operation of a state’s
36   custody process:
37
38          It is not in accordance with the design and operation of a [state] Government
39          . . . [to] assume to regulate the domestic relations of society . . . [to take an]
40          inquisitorial authority, [in order to] enter the habitations and even into the
41          chambers and nurseries of private families, and inquire into and pronounce

                                                  Page 13 of 17
                Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 14 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1              upon the morals and habits and affections or antipathies of the members of
 2              every household . . . [this is the case] whether [a state statute] expressly
 3              conferred upon the State courts, or tacitly assumed by them, their example
 4              and practice cannot be recognized as sources of authority by the courts of
 5              the United States. The origin and the extent of their jurisdiction must be
 6              sought in the laws of the United States. Barber v. Barber, 62 US 582 (1858)
 7
 8   46.     The DRE is diametrically opposed to Americans’ widely held beliefs of the government’s
 9   role in domestic relations and the federal court’s role in protecting their liberty and constitutional
10   rights from state government interference.
11
12   47.      The concepts espoused by Barber v. Barber are clear and explicit. The basic rule is that
13   any domestic relations state process, whether it exists under a state statute or whether it has been
14   tacitly assumed by the state, cannot be recognized by the courts of the United States if it does not
15   comply with US law. Yet the DRE policy creates the reverse. It creates a free for all for state
16   judges and lawyers.15
17

18                     The Complainant’s Background and Origins of Asensio v. DiFiore
19
20   48.     The undersigned is the recognized pioneer of informational arbitrage. This involves the
21   investigation of institutional securities fraud. He is a Cuban political refugee from the Bay of Pigs
22   era and a product of New York City’s Catholic parochial school system. He graduated St. Frances
23   de Chantal and Bishop Ford High School in Brooklyn, where his family settled in an Italian
24   Catholic community. He is a graduate of Wharton and Harvard. A disclosure on how the
25   undersigned became involved in this matter is available in an article posted on the Institute of
26   Judicial Conduct’s website. 16 It was written a year ago, before the investigation of the DRE led
27   the undersigned to research the Office of Chief Justice’s responsibility for the federal judiciary
28   policy making functions of the Judicial Conference. This article begins with the following
29   statement:
30
31                      I am a private citizen and not a lawyer or politician. I have personal
32                      experience with totalitarian governments and the investigation of
33                      fraud. My family fled communism and struggled not to leave any
34                      members behind. My childhood memories of the evils of exalted
35                      governments make it utterly intolerable for me to allow my own
36                      child to come under the control of an exalted judicial system, much

     15
       Exhibit 5 contains a list of the US Supreme Court DRE decisions, published academic articles on the DRE and US
     and New York law protecting the rights that the DRE allows judges to violate.

     16
          http://judicialconduct.org/wp-content/uploads/2018/09/ORIGINS-OF-TOPSY-TURVY-CHIEF-JUDGES.pdf.


                                                     Page 14 of 17
             Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 15 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1                  less an administrative system governed by a state chief judge’s
 2                  undefined ideological policy. Concealed policies that are directly
 3                  the opposite of my family’s moral and ethical beliefs . . . This matter
 4                  should not be an issue between liberal and conservative Americans.
 5
 6   49.      The undersigned’s religious and political beliefs and his commitment to his daughter are
 7   the reasons for him having invested 5-years into this investigation. To avoid the risk of being
 8   dismissed under the domestic relations exception to federal subject matter jurisdiction, the
 9   undersigned was forced to file Asensio v. DiFiore purely based on evidence of judicial corruption,
10   violations of the Due Process Clause and evidence of malicious interference with the most basic
11   American right, the right to be protected from judicial acts executed without neutral principles,
12   without legitimate jurisdiction or authority or legitimate state purpose, and without notice to the
13   President or Congress. Asensio v. DiFiore does not involve the granting of a divorce, award of
14   alimony, determination of child custody, or a visitation decree. The foundation for the case is
15   evidence discovered during the undersigned’s five-year private investigation into judicial
16   corruption in New York State’s processing of normal, routine post-divorce judgment custody
17   petitions. New York officials retaliated against the undersigned by abrogating all the undersigned’s
18   legal rights in New York State and by terminating the undersigned’s prima facie custody rights in
19   retaliation for taking actions against them.
20                            Judge Katzmann’s Lack of Care and Interest in
21                              Stopping Judicial Corruption in New York
22
23   50.     With all due respect to the Hon. Chief Justice, it cannot a surprise to the Hon. Chief Justice
24   that Judge Katzmann is deliberately mismanaging the 28 U.S.C. §§ 351–364 and sanctioning Judge
25   Abrams to ignore the undersigned’s 28 U.S.C. §§ 351–364 complaint and to act unjustly,
26   unreasonably, to ignore any law and any fact, and to do anything that is necessary to dismiss
27   Asensio v. DiFiore. Accordingly, Judge Abrams is acting dishonestly and has engaged in collusion
28   with Defendant DiFiore and the Daily News because Judge Katzmann is able to obstruct and
29   conceal the undersigned’s 28 U.S.C. §§ 351–364 complaints against Judge Abrams and himself.

30   51.      Judicial corruption in the design and operation of New York’s domestic relations process
31   is costing citizens an estimated $350 million a year. It is creating unimaginable human suffering
32   and denying them any ability to seek relief. Imagine witnessing judicial corruption being used
33   maliciously to cause disturbances, agitation and disruptions, conflicts and confrontations in the
34   Hon. Chief Justice’s family. Imagine the loss of security and stability the Hon. Chief Justice would
35   feel if the federal government made the Hon. Chief Justice futile to defend his family from judicial
36   corruption. The Hon. Chief Justice must understand the motives and purposes of the underwriter’s
37   investigation. The DRE has fomented wide spread judicial corruption. Over 120 New York State
38   senior officials are identified in Asensio v. DiFiore. The Hon. Chief Justice must come to terms
39   that the DRE has allow these 120 government workers to become part of a process that by design
40   operates maliciously to inflict injuries on justice, due process, innocent children and all Americans.
41   The undersigned refused to participate in the fraud and devoted himself to discover the source.
                                                 Page 15 of 17
             Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 16 of 17

     John G. Roberts, Jr.
     Chief Justice of the United States and
     Presiding Justice of the Judicial Conference of the United States

 1
 2   52.     Judge Katzmann has demonstrated that he has no interest in regulating judicial corruption
 3   in New York State’s domestic relations processes. He is only interested in protecting the DRE. He
 4   could hardly be more openly hostile against the undersigned, and Asensio v. DiFiore. Judge
 5   Katzmann is using his office to show hostility against the undersigned, to obstruct the
 6   undersigned’s 28 U.S.C. §§ 351–364 complaint against Judge Abrams and to protect violations of
 7   constitutional rights in post-divorce judgment child custody cases in New York. Judge Katzmann
 8   and the Judicial Council are not and will not act against the DRE. They are deliberately and
 9   maliciously obstructing the undersigned’s 28 U.S.C. §§ 351–364 actions. The only federal
10   authority under 28 U.S.C. §§ 351–364 that can regulate Judge Katzmann and his Judicial Council
11   is the Hon. Chief Justice himself.
12
13                                                  Conclusion
14
15   53.     Exhibits 6 through 10 are copies of the 28 U.S.C. §§ 351–364 complaints and samples of
16   the documents demonstrating the evidence of the corruption that exist in New York State, which
17   the federal judges are ignoring.
18
19   54.     The record demonstrating New York’s administrative judges up to the Chief Judge, and
20   then the Governor and the State Attorney, ignoring the corruption is undeniable and readily
21   comprehensible. The judges leading the Nation’s Conference of Chief Justices also ignored the
22   corruption. These state government officials know that they can conceal their corruption in the
23   federal courts under the DRE.
24
25   55.    Judges Katzmann and Abrams are protecting Defendant DiFiore who authorized the
26   December 29, 2015 scheme. Judge Abrams colluded with Defendant DiFiore to use the same old
27   and discredited scheme to plant a story in the Daily News on January 21, 2019. Judges Katzmann
28   and Abrams are continuing to collude with Defendant DiFiore.
29   56.     Again, the DRE is a federal judiciary policy created by the Judicial Conference. It is not a
30   subject matter exclusion; the DRE works backwards, it works as a reverse scheme to fabricate
31   jurisdiction over undefined subject matters that no US or state judge has the authority to regulate.
32
33   57.     The DRE should not, cannot and must not exist in any shape, color or form on US soil.
34   Not only does the domestic relations exception to federal subject matter jurisdiction deny justice
35   but it undeniably foments higher, and higher state and then federal judicial misconduct as the only
36   way to enforce the policy.
37

38   58.     Due to Judges Katzmann and Abrams’ misconduct this 28 U.S.C. §§ 351–364 complaint
39   is before the Hon Chief Justice out of necessity
40



                                                Page 16 of 17
Case 1:18-cv-10933-RA Document 74-1 Filed 05/17/19 Page 17 of 17
